Case 19-80091-CRJ   Doc 1   Filed 10/03/19 Entered 10/03/19 10:49:30   Desc Main
                            Document      Page 1 of 8
Case 19-80091-CRJ   Doc 1   Filed 10/03/19 Entered 10/03/19 10:49:30   Desc Main
                            Document      Page 2 of 8
Case 19-80091-CRJ   Doc 1   Filed 10/03/19 Entered 10/03/19 10:49:30   Desc Main
                            Document      Page 3 of 8
Case 19-80091-CRJ   Doc 1   Filed 10/03/19 Entered 10/03/19 10:49:30   Desc Main
                            Document      Page 4 of 8
Case 19-80091-CRJ   Doc 1   Filed 10/03/19 Entered 10/03/19 10:49:30   Desc Main
                            Document      Page 5 of 8
Case 19-80091-CRJ   Doc 1   Filed 10/03/19 Entered 10/03/19 10:49:30   Desc Main
                            Document      Page 6 of 8
Case 19-80091-CRJ   Doc 1   Filed 10/03/19 Entered 10/03/19 10:49:30   Desc Main
                            Document      Page 7 of 8
Case 19-80091-CRJ   Doc 1   Filed 10/03/19 Entered 10/03/19 10:49:30   Desc Main
                            Document      Page 8 of 8
